Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 1 of 6
Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 2 of 6
Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 3 of 6
Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 4 of 6
Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 5 of 6
Case 2:06-cr-00796 Document 368 Filed on 05/30/07 in TXSD Page 6 of 6
